         Case 8:19-bk-04001-MGW          Doc 11        Filed 07/16/19     Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov


In re:                                                  Case No. 8:19-bk-04001-MGW
                                                        Chapter 7
Michael David Stevens
Jaime Melissa Stevens

         Debtors.
                                              /

                            TRUSTEE’S RESPONSE TO
                    MOTION FOR RELIEF FROM AUTOMATIC STAY

        COMES NOW, the Trustee, Carolyn R. Chaney, and responds to the Motion for
Relief From Automatic Stay, filed at Doc. No. 7, and says:

       1. The Trustee does not object to the relief sought in the motion; however requests
the Court to delay the effective date of the Order lifting stay for a period of ninety (90) days
in order to allow the Trustee the opportunity to market and sell the property utilizing the
services of BK Global Real Estate Services.

         DATED: July 16, 2019.                    /s/Carolyn R. Chaney, Trustee
                                                  Post Office Box 530248
                                                  St. Petersburg, FL 33747-0248
                                                  Telephone: (727) 864-9851
                                                  Email: carolyn.chaney@earthlink.net




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been provided
by electronic or U.S. Mail delivery on July 16, 2019, to:

Office of U.S. Trustee, at USTPRegion21.TP.ECF@USDOJ.GOV
Debtors: Michael and Jaime Stevens, 5700 Saddlebrook Way, Wesley Chapel, FL 33543
Attorney for Debtors: Matthew J. Jowanna, Esquire, 2521 Windguard Circle, Suite 101, Wesley
        Chapel, FL 33544; Email: info@jowanna.com
Attorney for Secured Creditor, Christopher P. Salamone, Esquire, 6409 Congress Avenue, Suite
        100, Boca Raton, FL 33487; Email: csalamone@rasflaw.com.


                                                  /s/Carolyn R. Chaney, Esquire
